                    Case 3:09-cv-00286-CCC Document 1864 Filed 08/16/22 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Middle District
                                                   __________        of Pennsylvania
                                                               District of __________

                         Wallace et al                               )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 3:09-CV-286
                          Powell et al                               )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Judgment is ENTERED in favor of the plaintiffs listed in the court’s Damages Appendix against Ciavarella
u
               and Conahan in the amount of $106,296,945.53 in compensatory damages. Punitive damages are
               assessed against Conahan and Ciavarella in the amount of $100,000,000.00.                                             .



u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u  tried by Judge                                                                        without a jury and the above decision
was reached.

u decided by Judge
✔                               Christopher C. Conner
      Memo and Order filed August 16, 2022 (Doc 1862 and 1863)
                                                                                                                                     .

Date:$XJXVW
                                                                            CLERK OF COURT


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                                                                                          Signature of Clerk or Deputy Clerk
